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11
                                IN THE UNITED STATES DISTRICT COURT
12
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
13

14

15    RALPH COLEMAN, et al.,                                       2:90-cv-00520 LKK JFM P

16                                                   Plaintiffs,   DEFENDANTS’ EX PARTE
                                                                   MOTION, WITH
17                    v.                                           DECLARATIONS OF DOUG
                                                                   MCKEEVER AND LISA
18    ARNOLD SCHWARZENEGGER, et al.,                               TILLMAN, [PROPOSED]
                                                                   ORDER RE: EXTENSION OF
19                                                Defendants.      TIME FOR DEFENDANTS’
                                                                   TO PROVIDE PLAN TO
20                                                                 ADDRESS ENHANCED
                                                                   OUTPATIENT CARE IN
21                                                                 ADMINISTRATIVE
                                                                   SEGREGATION UNITS
22

23                                         INTRODUCTION

24          On March 9, 2007, this Court ordered Defendants to review Enhanced Outpatient Program

25 (EOP) care in administrative segregation units to improve care and reduce the lengths of stay of EOP

26 inmates in administrative segregation units. The Court provided Defendants with 90 days to

27 complete the plan. On June 1, 2007, this Court entered an order directing Defendants to include in

28 the plan a modification of the frequency of Institutional Classification Committee review of inmates

     Def. EOT EOP/Ad Seg Plan
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 1 in administrative segregation and provide a breakdown of the numbers of inmates within

 2 administrative segregation units currently awaiting transfer to the sensitive needs yards.

 3 Defendants have commenced development of a responsive plan. Defendants have twice consulted

 4 with the Court’s appointed experts on this matter. Defendants respectfully request an additional

 5 45 days to complete the plan.

 6                                  PROCEDURAL BACKGROUND

 7          On March 9, 2007, this Court ordered Defendants to work with the special master's experts

 8 to review the provision of Enhanced Outpatient Programs (EOPs) in administrative segregation

 9 units.

10 The order stated the review process shall conduct an audit of the EOP administrative segregation

11 population and examine more effective ways for reducing the lengths of stay of EOP inmates in

12 administrative segregation; alternative methods for the delivery of mental health treatment, including

13 the use of a different mix of clinical and paraclinical professionals; the use of different housing

14 and/or service models for particular categories of EOP administrative segregation inmates; and any

15 other strategy or approach likely to better serve the treatment needs of EOP administrative

16 segregation inmates.

17          Defendants met with the designated court experts in April and May. (Dec. McKeever, ¶ 6.)

18          On June 1, 2007, this Court ordered CDCR to include in the report:

19          “a. Their plan for modification of the present requirement that allows ICC review for inmates

20 in ad seg. Defendants should consider conducting ICC reviews every 45 days for those inmates

21 awaiting disposition of referrals to local DAs and possibly for all mental health caseload inmates

22 who have been held in administrative segregation over 90 days. Defendants should also consider

23 transferring inmates in administrative segregation to more appropriate placements pending

24 processing of their DA referrals.

25          b. A breakdown of the numbers of administrative segregation inmates currently awaiting

26 transfer to the sensitive needs yards.”

27          On June 6, 2007, Defendants’ counsel informed Plaintiffs’ counsel of the need for a 45 day
28 extension. (Dec. Tillman, ¶ 3.) Plaintiffs’ counsel refused to stipulate to the extension. (Id., ¶ 4.)

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 1                                         LEGAL ARGUMENT

 2              Defendants respectfully request additional time, 45 days, to complete their work on this plan

 3 to improve EOP care in the administrative segregation units. Defendants have commenced their

 4 work on this plan. (Dec. McKeever, ¶5.) Meetings have been held with court-appointed experts.

 5 (Id., ¶ 6.) A draft of the plan has been completed. (Id., ¶ 7.) However, additional work must be

 6 done, including the review of policy changes suggested by the March and June court orders. (Id.)

 7 Given the number of projects and plans presently being handled by the CDCR staff responding to

 8 these court orders, additional time will permit a thorough report by Defendants. (Id., ¶¶ 8, 9.)

 9                                            CONCLUSION
10              Defendants respectfully request a 45-day extension of the deadline to submit their plan to
11 improve Enhanced Outpatient care in administrative segregation units.

12
                Dated:
13
                                        Respectfully submitted,
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     Def. EOT EOP/Ad Seg Plan
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